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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 ANTHONY HART,

       Plaintiff,
                                               Case No. 16-cv-10253
 v.
                                               HON. DENISE PAGE HOOD
 HILLSDALE COUNTY, et al.,

      Defendants.
 _______________________________/

                         ORDER STAYING CASE
                                 AND
                    ADMINISTRATIVELY CLOSING CASE

       Defendants in this matter filed Notices of Appeal from the Court’s Order

 denying motions to dismiss and/or summary judgment. (Doc. Nos. 123, 125) “A

 denial of summary judgment is generally not a final judgment.” Haynes v. City of

 Circleville, Ohio, 474 F.3d 357, 361 (6th Cir. 2007)(quoting Hoover v. Radabaugh,

 307 F.3d 460, 465 (6th Cir. 2002)). A denial of a motion for summary judgment on

 the ground of qualified immunity may be appealed as a collateral order where (1) the

 defendant is a public official asserting the defense of qualified immunity and (2) the

 issue appealed concerns not which facts the parties might be able to prove, but

 whether certain alleged facts reflect a violation of clearly established law. Haynes,

 474 F.3d at 361. The Court will stay the matter until the resolution of the appeals.
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 See Mithcell v. Forsyth, 472 U.S. 511 (1985).

       Accordingly,

       IT IS ORDERED that this action is STAYED and ADMINISTRATIVELY

 CLOSED. The action may be reopened after a party provides the Court with notice

 that a mandate has been issued from the Sixth Circuit Court of Appeals.


                          S/Denise Page Hood
                          Denise Page Hood
                          Chief Judge, United States District Court

 Dated: April 16, 2018

 I hereby certify that a copy of the foregoing document was served upon counsel of
 record on April 16, 2018, by electronic and/or ordinary mail.

                          S/LaShawn R. Saulsberry
                          Case Manager




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